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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

 

UNITED STATES SECURITIES AND EXCHANGE

COMMISSION, Civil No. 3:15cv675 (JBA)
Plaintiff,
v.

IFTIKAR AHMED, March 26, 2018

Defendant, and

IFTIKAR ALI AHMED SOLE PROP; I-CUBED
DOMAINS, LLC; SHALINI AHMED; SHALINI
AHMED 2014 GRANTOR RETAINED ANNUNITY
TRUST; DIYA HOLDINGS LLC; DIYA REAL
HOLDINGS, LLC; LI. 1, a minor child, by and through
his next friends IFTIKAR and SHALINI AHMED, his
parents; I.I. 2, a minor child, by and through his next
friends IFTIKAR and SHALINI AHMED, his parents;
and II. 3, a minor child, by and through his next
friends IFTIKAR and SHALINI AHMED, his parents,

Relief Defendants.

 

 

ORDER ON DEFENDANT’S MOTIONS FOR MODIFICATION OF THE ASSET FREEZE
ORDER TO RELEASE FUNDS FOR HIS LEGAL DEFENSE AND FOR A STAY IN LIGHT
OF KOKESH

In this civil enforcement action brought by the Securities and Exchange Commission
(“SEC”), Defendant Iftikar Ahmed moves [Doc. #589] for modification of the asset freeze order
for the release of funds for his legal defense,' and for a stay [Doc. #654] of this action, based on the

Supreme Court’s decision in Kokesh v. S.E.C., 137 S. Ct. 1635 (2017). For the reasons discussed

 

' As Defendant recognizes, this is a motion for reconsideration at least in part, as the Court
has twice previously rejected Defendant’s requests for the release of frozen assets to fund his legal
defense. (See Docs. ## 97, 325.)
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below, Defendant’s Motion to Modify the Asset Freeze Order to Release Funds for Legal Defense
is granted in part and denied in part, and his Motion to Stay is denied.

The Court presumes the parties’ familiarity with the underlying facts of this case.

In Kokesh, the Supreme Court held that “[d]isgorgement in the securities-enforcement
context is a ‘penalty’ within the meaning of § 2462, and so disgorgement actions must be
commenced within five years of the date the claim accrues.” 137 S. Ct. at 1639. Defendant argues
that this change in the law “clearly establishes that significant assets currently frozen should be
immediately released and made available to the Defendant for his legal defense and
representation.’ (Def.’s Mot. for Release of Funds [Doc. # 589] at 3.) Defendant also filed a Motion
to Stay in Light of Kokesh, requesting a stay “till after a formal analysis by this esteemed Court is
done on the post-Kokesh quantum of the permissible asset freeze including a thorough evaluation
of the assets vested and earned by the Defendant being retained by Oak and being part of the asset
freeze order.” (Def.’s Mot. to Stay at 11.)

Defendant’s request for release of funds for his legal defense is two-fold: he seeks
recalculation of the asset freeze after Kokesh, and “the immediate release of all assets in excess of
that new limit; including the unconditional release of such unfrozen funds to pay for attorney’s
fees in the United States...” (Def.’s Mot. for Release of Funds at 10.) At its base then, Defendant’s
Motion seeks modification of the Ruling and Order Granting Preliminary Injunction (the “Asset

Freeze Order”) [Doc. # 113] to reduce the asset freeze based upon the change in law articulated in

 

* In its Ruling and Order Granting Preliminary Injunction, issued August 12, 2015, the
Court ordered frozen “up to the amount of $118,246,186,” consisting of $65 million in
disgorgement, $9 million in prejudgment interest, and a $44 million civil penalty. (See Doc. # 113
at 20.)
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Kokesh which he theorizes would result in a release of previously frozen funds, which he could use
for his legal defense.

In response, the SEC never directly disputes that the Asset Freeze Order should be modified
to reflect that a portion of Defendant’s fraud occurred outside of the five-year statute of limitations.
Instead, it argues the Court should deny reconsideration of its prior orders denying release of sums
for Defendant’s legal defense because the SEC “has not secured enough assets to cover even a
modified asset freeze order and therefore the release of any funds to Defendant remains
inappropriate.” (Pl.’s Opp’n [Doc. # 634] to Def.’s Mot. for Release of Funds at 3.)

The SEC represents that isolating only Defendant’s fraud that occurred within the five years
prior to the filing of the Complaint, an adequate asset freeze needs to be approximately $89 million:
$44 million in disgorgement, $1.5 million in prejudgment interest, and an additional $44 million

in civil penalties.’

 

* The parties agree that the following fraudulent transactions occurred within five years of
the filing of the SEC’s Complaint: 2011 Company G fraud related to a purported management
incentive payment ($3,113,981) [Doc. # 208 ¢§ 70-72]; 2013 Company G fraud related to a
purported management incentive payment ($1,556,990) [Doc. # 208 ¢¢ 73-74]; 2013 Company G
fraud related to a purported investment bank advisory fee ($622,796) [Doc. # 208 ¢§ 75-76]; 2010
Company I fraud related to overpayment due to exchange rate ($2,185,946) [Doc. # 208 € 83-85];
2014 Company A fraud related to overpayment for shares ($2,044,733) [Doc. # 208 4 87-102];
2014 Company B fraud related to overpayment for shares ($18,000,000) [Doc. # 208 44 103-117];
2013 Company C fraud related to redemption of shares ($8,896,193) [Doc. # 208 €¢ 130-134); and
2014 Company C fraud related to I-Cubed’s sale of Company C shares ($7,500,000) [Doc. # 208 ¢§
119-129]. These fraudulent transactions - which are indisputably within the five-year statute of
limitations — total $43,920,639. Prejudgment interest on this amount comes to $1,520,953. (See
Doc. # 68 at 19-20.) And the approximately $44 million civil penalty amount represents the same
amount the SEC initially requested, since the SEC excluded fraudulent transactions older than five
years from its requested civil penalties. (See Doc. # 66 at 14.)

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Having heard no argument that the asset freeze should not be modified to remove
disgorgement associated with fraud executed more than five years prior to the filing of the related
claims, the Court modifies the August 12, 2015 Asset Freeze Order to freeze assets up to the
amount of $89 million.

The Court rejects Defendant’s unsupported contention that the current corpus of frozen
funds is over $200 million, and credits the SEC’s accounting, identifying the specific assets that
comprise the current value of assets secured to date to satisfy the freeze order, which it calculates
as approximately $87 million.* This includes Defendant’s non-liquid assets, many of which are
held by an entity in which Defendant is not the 100% owner, and several of which have liquidation
restrictions, and also assumes that were Defendant to prevail, he would be entitled to 100% of the
proceeds of the frozen assets, and that there are no costs to sell the assets, or liquidation penalties
for non-liquid assets.° Thus, although the SEC estimates that the total corpus of secured assets is
valued at $87 million, the secured assets which can be readily liquidated total only approximately
$78 million, and in either event, the value of the secured assets fall short of the modified asset freeze

order of $89 million.®

 

* This number includes approximately $58.4 million in cash, securities, jewelry, and gold,
in addition to real estate worth approximately $19.7 million, totaling approximately $78 million.
It also includes approximately $9.2 million in non-liquid assets.

° The SEC maintains that these non-liquid assets may not be available to satisfy
disgorgement, prejudgment interest, and civil penalties related to conduct indisputably within the
five-year statute of limitations

° As the SEC notes, the Court has already determined that the value of the carried interest
account should not be included in the calculation of the frozen funds, because “there is great
uncertainty as to whether this . . . account will materialize into an asset available for victim
recovery.” (Doc. # 113 at 14-15.)
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This shortfall demonstrates that the asset freeze recalculation performed above, will not
result in the release of any frozen assets at this time. Should the value of the frozen assets exceed
$89 million, the SEC is directed to inform the Court, at which point the Court will determine
whether any release of frozen assets is appropriate and under what conditions.’

Accordingly, Defendant’s Motion to Modify is GRANTED insofar as the Court modifies
§3A of the Asset Freeze Order [Doc. # 113] as follows: The assets, funds, or other property held by
or under the direct or indirect control of Defendant and Relief Defendants, whether held in any of
their names or for their direct or indirect beneficial interest, wherever located, up to the amount
of $89,000,000, are frozen. Defendant’s Motion to Modify is DENIED to the extent Defendant
seeks reconsideration of the denial of entitlement to release of funds for Defendant’s legal defense.
(See Docs. ## 191, 392.) Defendant’s Motion to Stay, predicated on his contention that frozen assets
are required to be released, is denied, as the freeze modification will not result in any funds being

unfrozen.

IT IS SO ORDERED.

/s/
Janet Bond Arterton, U.S.D.]J.

Dated at New Haven, Connecticut this 26th day of March 2018.

 

’ Defendant’s arguments regarding whether the SEC may seek disgorgement at all, whether
the amounts sought as disgorgement count towards the maximum penalty amount permitted by
15 U.S.C. § 78u-1(a)(1), and whether the SEC can seek pre-judgment interest on disgorgement
amounts, are appropriately addressed at a damages or remedy phase.

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